Case 1:13-cv-01501-JMS-MJD Document 258 Filed 11/13/19 Page 1 of 2 PageID #: 7761




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION

   KATHERINE LANTERI, individually and on            )
   behalf of all others similarly situated,          )
                                                     )
                                Plaintiff,           )     1:13-cv-01501-JMS-MJD
                                                     )
                        vs.                          )
                                                     )
   CREDIT PROTECTION ASSOCIATION, L.P.,              )
   a Texas Limited Partnership, and ETAN             )
   GENERAL, INC., a Texas Corporation,               )
                                                     )
                                Defendants.          )

                                     ORDER CLOSING CASE

         The parties have moved the Court to stay this case, [Filing No. 257], pending the outcome

  of the appeal in Gadelhak v. AT&T Servs., Inc., No. 19-1738, which is presently pending before

  the Seventh Circuit Court of Appeals. The parties anticipate the resolution of that appeal will

  significantly impact, if not resolve, the issues in their pending cross motions for summary

  judgment. The Court agrees and GRANTS the Joint Motion to Stay Case Pending Ruling from

  Seventh Circuit on Potentially Dispositive Issue, [257]. In light of the pending appeal in Gadelhak,

  the Clerk is directed to procedurally/administratively close this case. All deadlines and hearing

  settings are vacated, and all pending motions in this matter are terminated without prejudice.

  At least once every 120 days from the date of this Order the parties are directed to file a report

  advising the court of the status of the appeal in Gadelhak. Further, the parties shall have fourteen

  days from the date the Seventh Circuit issues a decision in Gadelhak to file a notice with the Court

  suggesting a schedule for further action in this case.




                                                  -1-
Case 1:13-cv-01501-JMS-MJD Document 258 Filed 11/13/19 Page 2 of 2 PageID #: 7762




     November 13, 2019
                                                ^ Judge stamp upper left




  Distribution via ECF only to all counsel of record




 Date: 11/13/2019




                                              -2-
